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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

LATOYA PITTS,                                 )
                                              )
       Plaintiff,                             )
                                              )       No. 1:10-cv-834
       vs.                                    )
                                              )
RECEIVABLES PERFORMANCE                       )
MANAGEMENT, LLC,                              )       JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )


                                          COMPLAINT

       NOW COMES the Plaintiff, LATOYA PITTS, by and through her attorneys,

LUXENBURG & LEVIN, LLC, and for her Complaint against the Defendant, RECEIVABLES

PERFORMANCE MANAGEMENT, LLC, Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq., and the Ohio

Consumer Sales Practices Act (hereinafter the “OCSPA”), Ohio Rev. Code § 1345.01, et seq.

                                JURISDICTION AND VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.

                                            PARTIES

       3.      Plaintiff is an individual who was at all relevant times residing in Fairfield, Ohio.
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        4.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as she is a natural

person allegedly obligated to pay a debt.

        5.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6), in that it held itself out to be a company collecting a consumer debt

allegedly owed by Plaintiff.

        6.      On information and belief, Defendant is a limited liability company of the State of

Washington, which is licensed to do business in Ohio and which has its principal place of

business in Lynnwood, Washington.

                                              COUNT I

                        (Violation of the Fair Debt Collection Practices Act)

        7.      On or about March 17, 2010, Defendant’s representatives and/or employees began

contacting Plaintiff in attempts to collect the aforementioned alleged debt.

        8.      The alleged debt Defendant was attempting to collect had previously been paid by

Plaintiff, and there was no amount still due to the original creditor.

        9.      On or about March 27, 2010, Plaintiff mailed a letter to Defendant disputing the

validity of the alleged debt, and further, requesting that all communications from Defendant to

her cease. A copy of said letter is attached as Exhibit 1.

        10.     However, Defendant’s representatives and/or employees continued to contact

Plaintiff in attempts to collect the alleged debt despite Plaintiff’s request.

        11.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

                a.      Falsely representing the character, amount and/or legal status of the debt,

                        in violation of 15 U.S.C. § 1692e(2)(A);




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               b.       Continuing to communicate with Plaintiff after Defendant was notified in

                        writing that Plaintiff refused to pay the debt and/or that Plaintiff wished

                        for Defendant to cease further communication with her, in violation of 15

                        U.S.C. § 1692c(c); and

               c.       By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with the FDCPA.

       12.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, LATOYA PITTS, respectfully prays for a judgment against

Defendant as follows:

               a.       Statutory damages of $1,000.00 for each violation of the FDCPA;

               b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

               c.       Any other relief deemed appropriate by this Honorable Court.

                                              COUNT II

                      (Violation of the Ohio Consumer Sales Practices Act)

       13.     Plaintiff hereby adopts, re-alleges and incorporates by reference all allegations set

forth above as though fully rewritten here.

       14.     Defendant’s actions in attempting to collect the alleged debt from Plaintiff as

described above constitute a “consumer transaction” as defined in Ohio Rev. Code § 1345.01(A).

       15.     Defendant is a “supplier” as defined in Ohio Rev. Code § 1345.01(C), as

Defendant is in the business of effecting or soliciting consumer transactions.




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       16.     Plaintiff is a “consumer” as defined in Ohio Rev. Code § 1345.01(C), as he is a

person who engaged in a consumer transaction with a supplier, the Defendant herein.

       17.     Defendant’s actions and omissions described above constitute unfair, deceptive

and unconscionable acts and practices, in violation of Ohio Rev. Code §§ 1345.02 and 1345.03,

and the substantive rules promulgated under the OCSPA.

       18.     Defendant, through its agents and employees, knowingly committed the unfair,

deceptive and unconscionable acts and practices described above.

       19.     As a result of Defendant’s unfair, deceptive and unconscionable acts and

practices, Plaintiff has suffered, and continues to suffer, various damages which include, but are

not limited to the categories of damages described above.

       WHEREFORE, Plaintiff, LATOYA PITTS, respectfully prays for a judgment against

Defendant as follows:

               a.       Statutory damages of $200.00 for each violation of the OCSPA;

               b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

               c.       Any other relief deemed appropriate by this Honorable Court.


                                         JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of her claims in this action.




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                                       Respectfully Submitted,

                                       /s/ David B. Levin
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